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                             UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                   AMARILLO DIVISION


  STATE OF MISSOURI, et al.,
                Intervenor-Plaintiffs,

         v.

  U.S. FOOD AND DRUG ADMINISTRATION, et al.,                   Case No. 2:22-cv-00223-Z
                Defendants,
         and
  DANCO LABORATORIES, LLC,
                Intervenor-Defendant.




                 [PROPOSED] ORDER GRANTING GENBIOPRO, INC.’s
                       MOTION FOR LEAVE TO INTERVENE

        Upon consideration of GenBioPro, Inc.’s Motion for Leave to Intervene and the

 Memorandum of Points and Authorities in Support thereof, it is hereby ORDERED that the

 Motion is GRANTED.

        So ordered this __ day of ________, 2025

                                                   ________________________________
                                                   HON. MATTHEW J. KACSMARYK
                                                   UNITED STATES DISTRICT JUDGE
